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                            24-2370
               UNITED STATES COURT OF APPEALS FOR
                          THE SECOND CIRCUIT
_________________________________________
                                            |
MOHAMED JOHN AKHTAR and LA BUCA             |
RESTAURANT, INC. DBA SWING 46 JAZZ          |
AND SUPPER CLUB,                            |
                      Plaintiffs-Appellants |
                                            |
                -against-                   |
                                            |
ERIC ADAMS, Mayor of the City of New        |
York, ROHIT T. AGGARWALA, NEW YORK |
CITY DEPARTMENT OF ENVIRONMENTAL |
PROTECTION, and ERIC M. EISENBERG1          |
                                            |
                      Defendants-Appellees |
                                            |
                  and                       |
                                            |
                   2
ERIC I. EISENBERG, JANE DOES 1-30, and      |
JOHN DOES 1-30,                             |
                                            |
                             Defendants     |
_________________________________________|

    ERIC M. EISENBERG’S SCHEDULING NOTIFICATION PURSUANT TO SECOND
                          CIRCUIT LOCAL RULE 31.2




1
  The undersigned does not necessarily agree that he is properly a “Defendant-Appellee,” but includes his name in
    the above caption in the manner most recently specified by the Court (see 2 nd Cir. Docket Entry 68) for the
    Court’s convenience.
2
  Per 2nd Cir. Docket Entry 68, Eric I. Eisenberg (who was named in the original Complaint that is the subject of this
    appeal) is a “Defendant.”

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       At the outset, the undersigned, Eric M. Eisenberg (pro se), notes that he submitted a

motion, on February 12, 2025, (D.I. 82) (hereinafter, “the Undersigned’s Motion”) which is

currently pending, seeking the following relief:

   •   pro hac vice admission (to the extent necessary);

   •   reconsideration of the order (2nd Cir. D.I. 80, Feb. 7, 2025) granting reinstatement of the

       appeal, or in the alternative for vacating this order so that the undersigned may file an

       opposition to the motion for reinstatement (2nd Cir. D.I. 78, Feb. 5, 2025);

   •   rejection of the plaintiffs’ brief, which contains a caption inconsistent with prior orders;

   •   rejection of the plaintiffs’ appendix, which was prepared in violation of F.R.A.P. 30(b)

       (1);

   •   correction of the caption (to the extent necessary); and

   •   sanctions against plaintiffs-appellants and/or their counsel, and other just relief as the

       court may deem appropriate.

       As explained in more detail in the Undersigned’s Motion, “Eric M. Eisenberg” appeared

on the docket as a new party on January 28, 2025 (2 nd Cir. D.I. 67) without any formal notice of

same being provided to me, and there were various failures of, and misrepresentations with

respect to, service by Plaintiffs-Appellants. As also explained in the Undersigned’s Motion, I do

not automatically receive notifications of, or copies of, new filings from the Second Circuit’s

ACMS system.

       Given these unique circumstances and posture, the undersigned hereby notifies the

clerk, pursuant to Second Circuit Local Rule 31.2, that he requests the following deadline

for his brief: 90 days following the latest of: (1) an order disposing of the Undersigned’s

Motion; (2) any order disposing of the reinstatement issue subsequent to further briefing



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ordered by this Court in response to the Undersigned’s Motion; and (3) Plaintiffs’ filing of

any corrected and/or properly prepared brief and/or appendix – to the extent required by

the Court in response to the Undersigned’s Motion.

       Such a deadline is necessary in order to avoid extreme hardship to the undersigned and

potential confusion to the Court. If the deadline were earlier than the above-described events,

then the undersigned, who is pro se, could well be unnecessarily forced to prepare a brief (i)

despite the appeal ultimately not being reinstated; (ii) in response to a version of Plaintiffs’ brief

which may be determined to be in need of correction, ultimately necessitating a second round of

briefing by the undersigned as well; (iii) relying on an Appendix prepared by Plaintiffs in

violation of F.R.A.P. 30(b)(1), with neither the undersigned nor the city defendants-appellees

being provided any opportunity to participate in the preparation of same, also potentially

necessitating a second round of briefing; (iv) without the benefit of further clarification from the

Court as to the proper caption; and (v) without the benefit of service of all documents filed by

Plaintiffs on him.

       The undersigned notes that, should the Undersigned’s Motion be denied in all relevant

substantive respects, then the deadline for the undersigned’s brief will become immediately

calculable (90 days following the date of that order).


Dated (and executed in):                                      Respectfully submitted,

                                                              /s/    Eric M. Eisenberg
February 21, 2025 (Miami, Florida)                            Eric M. Eisenberg
                                                              (Pro Se)
                                                              1300 S Miami Avenue
                                                              Unit 1408
                                                              Miami, FL 33130
                                                              ericeis@gmail.com




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                                      Certificate of Service

       The undersigned hereby affirms, under penalty of perjury, that the foregoing Scheduling

Notification, was served on February 21, 2025 by electronic mail on counsel of record as

follows:


Anthony Nicholas Ianarelli, Jr. - anilaw2@gmail.com (Plaintiffs’ Counsel)

David Alan Rosinus, Jr. - nycfedapp@law.nyc.gov; arosinus@law.nyc.gov
Genan Zilkha - gzilkha@law.nyc.gov
Kerri Devine - kdevine@law.nyc.gov
(counsel for city defendants)

       The undersigned further anticipates, based on past practice, that the document, upon my

submission of it to the Court by email today, will promptly be electronically filed by the Court

on ACMS.


Dated (and executed in):                                    Respectfully submitted,
February 21, 2025 (Miami, Florida)

                                                               /s/    Eric M. Eisenberg
                                                               Eric M. Eisenberg
                                                               (Pro Se)
                                                               1300 S Miami Avenue
                                                               Unit 1408
                                                               Miami, FL 33130
                                                               ericeis@gmail.com




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